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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
 UNITED STATES OF AMERICA,                                     :
                                                               :
                                                               :
                              -v-                              :
                                                               :            1:20-cr-127-GHW-1
                                                               :
 CHRISTIAN IRIZARRY,                                           :                ORDER
                                               Defendant. :
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                                                               X

GREGORY H. WOODS, United States District Judge:

         A remote proceeding is scheduled in this matter on October 16, 2020 at 10:30 a.m.

Members of the public who wish to audit the proceeding may do so using the following dial-in

information: (888) 557-8511; Access Code: 7470200.

         SO ORDERED.

Dated: October 16, 2020
       New York, New York                                          __________________________________
                                                                          GREGORY H. WOODS
                                                                         United States District Judge
